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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN

JANIS SHUMWAY, Individually,             :
                                         :
              Plaintiff,                 :
                                         :
v.                                       :              Case No.
                                         :
RANKE WEIR & MANUEL SNYDER WEIR, :
Individually,                            :
                                         :
              Defendants.                :
_______________________________________/ :
                                         :
                                         :

                                          COMPLAINT
                                   (Injunctive Relief Demanded)

        Plaintiff, JANIS SHUMWAY, Individually, on her behalf and on behalf of all other

individuals similarly situated, (sometimes referred to as “Plaintiff”), hereby sues the Defendants,

RANKE WEIR & MANUEL SNYDER WEIR, Individually, (sometimes referred to as

“Defendants”), for Injunctive Relief, and attorney’s fees, litigation expenses, and costs pursuant to

the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”).

1.             Plaintiff is a resident of Tennessee, is sui juris, and qualifies as an individual with

               disabilities as defined by the ADA. Plaintiff is unable to engage in the major life

               activity of walking more than a few steps and primarily relies on a wheelchair when

               ambulating. Plaintiff requires accessible handicap parking spaces located closest to

               the entrances of a facility. The handicap and access aisles must be of sufficient width

               so that she can embark and disembark from a ramp into her vehicle. Routes

               connecting the handicap spaces and all features, goods and services of a facility must

               be level, properly sloped, sufficiently wide and without cracks, holes or other hazards
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              that can pose a danger of tipping, catching wheels or falling. These areas must be free

              of obstructions or unsecured carpeting that make passage either more difficult or

              impossible. Amenities must be sufficiently lowered so that Plaintiff can reach them.

              She has difficulty operating door knobs, sink faucets, or other operating mechanisms

              that tight grasping, twisting of the wrist or pinching. She is hesitant to use sinks that

              have unwrapped pipes, as such pose a danger of scraping or burning her legs. Sinks

              must be at the proper height so that she can put her legs underneath to wash her

              hands. She requires grab bars both behind and beside a commode so that she can

              safely transfer and she has difficulty reaching the flush control if it is on the wrong

              side. She has difficulty getting through doorways if they lack the proper clearance.

2.            Plaintiff is an advocate of the rights of similarly situated disabled persons and is a

              "tester" for the purpose of asserting her civil rights and monitoring, ensuring, and

              determining whether places of public accommodation and their websites are in

              compliance with the ADA.

3.            According to the public property records, Defendants own a place of public

              accommodation as defined by the ADA and the regulations implementing the ADA,

              28 CFR 36.201(a) and 36.104. The place of public accommodation that the

              Defendants own is a place of lodging known as Daxton Hotel, 298 S Old Woodward

              Ave, Birmingham, MI 48009, and is located in the County of Oakland, (hereinafter

              "Property").

4.            Venue is properly located in this District because the subject property is located in

              this district.


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5.            Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given

              original jurisdiction over actions which arise from the Defendants’ violations of Title

              III of the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28

              U.S.C. § 2201 and § 2202.

6.            As the owner of the subject place of lodging, Defendants are required to comply with

              the ADA. As such, Defendants are required to ensure that it's place of lodging is in

              compliance with the standards applicable to places of public accommodation, as set

              forth in the regulations promulgated by the Department Of Justice. Said regulations

              are set forth in the Code Of Federal Regulations, the Americans With Disabilities Act

              Architectural Guidelines ("ADAAGs"), and the 2010 ADA Standards, incorporated

              by reference into the ADA. These regulations impose requirements pertaining to

              places of public accommodation, including places of lodging, to ensure that they are

              accessible to disabled individuals.

7.            More specifically, 28 C.F.R. Section 36.302(e)(1) (the "Regulation"), promulgated

              by the Department of Justice pursuant to 42 U.S.C. Section 12182(b)(2)(A)(ii),

              imposes the following requirement:

              Reservations made by places of lodging. A public accommodation that owns,
              leases (or leases to), or operates a place of lodging shall, with respect to
              reservations made by any means, including by telephone, in-person, or through a
              third party -
                      (i) Modify its policies, practices, or procedures to ensure that individuals
                      with disabilities can make reservations for accessible guest rooms during
                      the same hours and in the same manner as individuals who do not need
                      accessible rooms;
                      (ii) Identify and describe accessible features in the hotels and guest rooms
                      offered through its reservations service in enough detail to reasonably



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                       permit individuals with disabilities to assess independently whether a
                       given hotel or guest room meets his or her accessibility needs;
                       (iii) Ensure that accessible guest rooms are held for use by individuals
                       with disabilities until all other guest rooms of that type have been rented
                       and the accessible room requested is the only remaining room of that type;
                       (iv) Reserve, upon request, accessible guest rooms or specific types of
                       guest rooms and ensure that the guest rooms requested are blocked and
                       removed from all reservations systems; and
                       (v) Guarantee that the specific accessible guest room reserved through its
                       reservations service is held for the reserving customer, regardless of
                       whether a specific room is held in response to reservations made by others.

8.             This regulation was promulgated pursuant to 42 U.S.C. Section 12182(b)(2)(A)(ii)

               and became effective March 15, 2012.

9.             Defendants, either themselves or by and through a third party, accept reservations

               for its hotel online through one or more websites. (Hereinafter "websites" or

               "ORS".) The purpose of this ORS is so that members of the public may reserve

               guest accommodations and review information pertaining to the goods, services,

               features, facilities, benefits, advantages, and accommodations of the Property. As

               such, these websites are subject to the requirements of 28 C.F.R. Section

               36.302(e).

10.            Since prior to the filing of the instant lawsuit, Plaintiff has plans to travel to and

               throughout the state during the summer of 2022. She will need to stay in area

               hotels and the failure of this and other hotels deprive her of the information she

               needs to make a meaningful choice in determining in which hotel she can stay.

11.            Prior to the commencement of this lawsuit, Plaintiff visited the websites for the

               purpose of reviewing and assessing the accessible features at the Property and

               ascertain whether they meet the requirements of 28 C.F.R. Section 36.302(e) and


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               his accessibility needs. However, Plaintiff was unable to do so because

               Defendants failed to comply with the requirements set forth in 28 C.F.R. Section

               36.302(e). As a result, Plaintiff was deprived the same goods, services, features,

               facilities, benefits, advantages, and accommodations of the Property available to

               the general public. Specifically, the following violations were found:

               •      The website for the hotel located at booking.com did not identify or allow

                      for reservation of accessible guest rooms and did not provide sufficient

                      information regarding accessability at the hotel.

               •      The website for the hotel located at expedia.com did not identify or allow

                      for reservation of accessible guest rooms and did not provide sufficient

                      information regarding accessability at the hotel.

               •      The website for the hotel located at hotels.com did not identify or allow

                      for reservation of accessible guest rooms and did not provide sufficient

                      information regarding accessability at the hotel.

               •      The website for the hotel located at orbitz.com did not identify or allow for

                      reservation of accessible guest rooms and did not provide sufficient

                      information regarding accessability at the hotel.

               •      The website for the hotel located at travelocity.com did not identify or

                      allow for reservation of accessible guest rooms and did not provide

                      sufficient information regarding accessability at the hotel.

12.            In the near future, Plaintiff intends to revisit Defendants’ online reservations

               system in order to test it for compliance with 28 C.F.R. Section 36.302(e). In this


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               respect, Plaintiff maintains a system to ensure that she revisits the online

               reservations system of every hotel she sues. By this system, Plaintiff maintains a

               list of all hotels she has sued with several columns following each. She

               continually updates this list by, among other things, entering the dates she did visit

               and plans to again visit the hotel's online reservations system. With respect to

               each hotel, she visits the online reservations system multiple times prior to the

               complaint being filed, then visits again shortly after the complaint is filed. Once a

               judgment is obtained or settlement agreement reached, she records the date by

               which the hotel's online reservations system must be compliant and revisits when

               that date arrives. She also intends to revisit the ORS for the purpose of comparing

               hotels and their accessible features in determining in which hotel she can stay

               during her upcoming trip.

13.            Plaintiff is continuously aware that the subject websites remain non-compliant and

               that it would be a futile gesture to revisit the websites as long as those violations

               exist unless she is willing to suffer additional discrimination.

14.            The violations present at Defendants’ websites infringe Plaintiff's right to travel

               free of discrimination and deprive her of the information required to make

               meaningful choices for travel. Plaintiff has suffered, and continues to suffer,

               frustration and humiliation as the result of the discriminatory conditions present at

               Defendants’ website. By continuing to operate the websites with discriminatory

               conditions, Defendants contribute to Plaintiff's sense of isolation and segregation

               and deprives Plaintiff the full and equal enjoyment of the goods, services,


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               facilities, privileges and/or accommodations available to the general public. By

               encountering the discriminatory conditions at Defendants’ website, and knowing

               that it would be a futile gesture to return to the websites unless she is willing to

               endure additional discrimination, Plaintiff is deprived of the same advantages,

               privileges, goods, services and benefits readily available to the general public. By

               maintaining a websiteswith violations, Defendants deprive Plaintiff the equality of

               opportunity offered to the general public. Defendants’ online reservations system

               serves as a gateway to its hotel. Because this online reservations system

               discriminates against Plaintiff, it is thereby more difficult to book a room at the

               hotel or make an informed decision as to whether the facilities at the hotel are

               accessible.

15.            Plaintiff has suffered and will continue to suffer direct and indirect injury as a

               result of the Defendant’s discrimination until the Defendants are compelled to

               modify its websitesto comply with the requirements of the ADA and to

               continually monitor and ensure that the subject websitesremains in compliance.

16.            Plaintiff has a realistic, credible, existing and continuing threat of discrimination

               from the Defendants’ non-compliance with the ADA with respect to these

               websites. Plaintiff has reasonable grounds to believe that she will continue to be

               subjected to discrimination in violation of the ADA by the Defendants.

17.            The Defendants have discriminated against the Plaintiff by denying her access to,

               and full and equal enjoyment of, the goods, services, facilities, privileges,

               advantages and/or accommodations of the subject website.


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18.            The Plaintiff and all others similarly situated will continue to suffer such

               discrimination, injury and damage without the immediate relief provided by the

               ADA as requested herein.

19.            Defendants have discriminated against the Plaintiff by denying her access to full

               and equal enjoyment of the goods, services, facilities, privileges, advantages

               and/or accommodations of its place of public accommodation or commercial

               facility in violation of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302(e).

               Furthermore, the Defendants continue to discriminate against the Plaintiff, and all

               those similarly situated by failing to make reasonable modifications in policies,

               practices or procedures, when such modifications are necessary to afford all

               offered goods, services, facilities, privileges, advantages or accommodations to

               individuals with disabilities; and by failing to take such efforts that may be

               necessary to ensure that no individual with a disability is excluded, denied

               services, segregated or otherwise treated differently than other individuals because

               of the absence of auxiliary aids and services.

20.            Plaintiff is without adequate remedy at law and is suffering irreparable harm.

               Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s

               fees, costs and litigation expenses from the Defendants pursuant to 42 U.S.C. §

               12205 and 28 CFR 36.505.

21 .           Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

               Plaintiff Injunctive Relief, including an order to require the Defendants to alter the

               subject websites to make them readily accessible and useable to the Plaintiff and


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             all other persons with disabilities as defined by the ADAand 28 C.F.R. Section

             36.302(e); or by closing the websitesuntil such time as the Defendants cure their

             violations of the ADA.

WHEREFORE, Plaintiff respectfully requests:

      a.     The Court issue a Declaratory Judgment that determines that the Defendants at the

             commencement of the subject lawsuit are in violation of Title III of the Americans

             with Disabilities Act, 42 U.S.C. § 12181 et seq. and 28 C.F.R. Section 36.302(e).

      b.     Injunctive relief against the Defendants including an order to revise their websites to

             comply with 28 C.F.R. Section 36.302(e) and to implement a policy to monitor and

             maintain the websites to ensure that they remain in compliance with said

             requirement.

      c.     An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.

             § 12205.

      d.     Such other relief as the Court deems just and proper, and/or is allowable under

             Title III of the Americans with Disabilities Act.

                                   Respectfully Submitted,

                                            /s/ Tristan W. Gillespie
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